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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF KENTUCKY
                           COVINGTON DIVISION
                        CASE NO. 2:17-cv-00055-DLB-CJS

ANGELA WILSON                                                                    PLAINTIFF

v.

EQUIFAX INFORMATION SERVICES, LLC                                            DEFENDANTS

       Serve:
       The Prentice Hall Corporation System
       421 West Main Street
       Frankfort, KY 40601

TRUPARTER CREDIT UNION, INC.
c/o KATHY HAAS, Registered Agent
1717 Western Avenue
Cincinnati, OH 45214

       Serve:
       KENTUCKY SECRETARY OF STATE


                           FIRST AMENDED COMPLAINT


The Plaintiff, Angela Wislon, by counsel, for her First Amended Complaint against Defendant,

Equifax Informaiton Services, LLC and TruPartner Credit Union, Inc., states as follows:

                                    INTRODUCTION

       1.     This is an action for actual damages, statutory damages, and punitive damages

brought by Plaintiff against the Defendants for willful, knowing, and/or negligent violations of

Chapter 41, the Consumer Credit Protection Credit Act, of Title 15 (Commerce and Trade) of

the United States Code, specifically, 15 U.S.C. § 1681 et seq. (known as the “Fair Credit

Reporting Act”, hereafter the “FCRA”), which relates to the compilation and dissemination of
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consumer credit and other financial information. Plaintiff also asserts claims against the

Defendants under state law for intentional or negligent infliction of emotional distress.

                              JURISDICTION AND VENUE

       2.      Plaintiff Angela Wilson a resident of Madison, Jefferson County, Indiana.

       3.      Defendant, Equifax Information Services, LLC (“Defendant” or “Equifax”), is a

limited liablity company organized and existing under the laws of the State of Georgia and is

engaged in the business of acquiring, using, furnishing, and disseminating consumer information

in the Commonwealth of Kentucky. Equifax has principal offices located in Atlanta, Georgia.

Equifax is a “consumer reporting agency”, as said term is defined and/or contemplated in the

FCRA, with respect to the matters referenced herein.

       4.      Defendant TruPartner Credit Union, Inc. (“TruPartner”), is a non-profit

corporation organized and existing under the laws of the state of Ohio. Defendant TruPartner is

in the business of making and servicing consumer loans in the Commonwealth of Kentucky.

Defendant TruPartner has principal offices located in Cincinnati, Ohio. At all pertinent times

herein, TruPartner was a “furnisher,” as said term is defined and/or contemplated in the FCRA,

with respect to the matters referenced herein.

       5.      This Court has jurisdiction over this action by virtue of 28 U.S.C. § 1331, 28

U.S.C. 1441, and 15 U.S.C. § 1681p.

       6.      Venue in this Court is proper because this action was removed from the state

court in this judicial district, the Plaintiff resided in this district at pertient times, the conduct

complained of occurred here, and Defendants transact business in this judicial district,




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                                             FACTS

       7.      In or around May 2015, Plaintiff sought to purchase a home to use as her primary

residence. To finance the purchase, Plaintiff applied for a home loan with one or more lenders.

However, Plaintiff’s requests for credit were denied based on false, derogatory information in her

Equifax consumer report furnished by TruPartner, including numerous late payments.

       8.      Thereafter, Plaintiff disputed the inaccurate information with TruPartner and

Equifax, but to no avail. As a result, Plaintiff was unable to obtain a loan to purchase the home.

       9.      In or around October 2015, Plaintiff sought to purchase another home to use as

her primary residence. To finance the purchase, Plaintiff applied for a home loan with one or

more lenders. However, Plaintiff’s requests for credit were denied based on the false late

payment information in her Equifax consumer report furnished by TruPartner. As a result,

Plaintiff was unable to obtain a loan to purchase the home.

       10.     On or about December 9, 2015, Plaintiff disputed the inaccurate information in

her consumer file with Equifax. On or about December 24, 2015, Equifax completed its

reinvestigation. However, Equifax failed to provide Plaintiff with the results of its reinvestigation

and continued to report the late payment information.

       11.     In or around December 2015, Equifax removed the TruPartner late payments, but

re-inserted the information the following month, January 2016, without notifying Plaintiff.

       12.     In or around June of 2016, Plaintiff sought to purchase another home to use as her

primary residence. To finance the purchase, Plaintiff applied for a home loan with one or more

lenders. However, Plaintiff’s requests for credit were denied based on the false late payment




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information in her Equifax consumer report furnished by TruPartners. As a result, Plaintiff was

unable to obtain a loan to purchase the home.

       13.     On or about June 24, 2016, TruPartner sent Equifax a universal data form with the

corrected account information relating to Plaintiff (no late payments).

       14.     On or about July 12, 2016, Polaris Home Funding Corporation denied Plaintiff’s

loan application based on 28 late payments on the TruPartner account.

       15.     In or around July of 2016, Plaintiff sought to purchase another home to use as her

primary residence. To finance the purchase, Plaintiff applied for a home loan with one or more

lenders.

       16.     On or about August 11, 2016, a prospective lender, Geneva Financial, LLC, denied

Plaintiff’s home loan application because Equifax failed to give a credit score for Plaintiff. As a

result, Plaintiff’s loan application was denied. Although she could not be on the loan, her

husband was able to obtain sufficient financing to purchase the home.

       17.     On or around August 24, 2016 and thereafter, Plaintiff requested her consumer

disclosure and score from Equifax and disputed the completeness of her file. Equifax responded

by requesting additional information from Plaintiff, which she provided. However, Equifax

ultimately failed to provide a consumer disclosure or credit score to Plaintiff.

       18.     Thereafter, in November 2016, Plaintiff applied for a loan to cover funeral

expenses for her daughter. The loan application was denied based on the incomplete or false

information in Equifax’s file, or the absence of a credit score, or both.

       19.     As a direct and proximate result of the conduct of Defendants, Plaintiff suffered

actual damages, including but not limited to emotional and mental anguish, turmoil, stress,




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embarrassment, humiliation, emotional distress, inconvenience, loss of privacy, credit denials,

pecuniary loss, loss of credit opportunities and commercial viability, harm to reputation, postage

and other expenses, and decrease to her credit score, credit rating, and perceived credit

worthiness.

       20.     The Defendants’ conduct and/or inaction as alleged herein was intentional,

malicious, fraudulent, oppressive, and was carried out in reckless disregard for the rights of

Plaintiff, warranting imposition of the maximum statutory penalties under the law and punitive

damages.

                             COUNT I
                WILLFUL NONCOMPLIANCE WITH THE FCRA

       21.     Between approximately May 2015 and the present, Defendant, Equifax, willfully

failed to comply with the requirements of the FCRA, by, inter alia:

       a.      failing to follow reasonable procedures to assure maximum possible accuracy of

               the information concerning the Plaintiff in her consumer file, in violation of 15

               U.S.C. § 1681e(a);

       b.      failing to conduct a reasonable reinvestigation to determine whether the

               information disputed by Plaintiff is inaccurate and record the current status of the

               disputed information, or delete the item from the file, within thirty (30) days of

               receipt of Plaintiff's dispute, in violation of 15 U.S.C. § 1681i(a)(1)(A);

       c.      failing to disclose all information in Plaintiff’s consumer file to Plaintiff upon

               request, in violation of 15 U.S.C. § 1681g(a);

       d.      failing to disclose a current credit score and related information to Plaintiff upon

               request, in violation of 15 U.S.C. § 1681g(f);



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       e.      reinserting previously deleted material (late payments) without obtaining a

               certification from the furnisher of the information (TruPartner) that the

               information was accurate, in violation of 15 U.S.C. § 1681i(a)(5)(B)(i);

       f.      failing to notify Plaitniff that it reinserted previously deleted material, in violation

               of 15 U.S.C. § 1681i(a)(5)(B)(ii);

       g.      failing to notify Plaintiff that previously disputed information was reinserted into

               her credit file, in violation of 15 U.S.C. § 1681i(a)(5)(B)(iii)(I);

       h.      failing to provide Plaintiff with the business name and address of the furnisher

               who contacted Equifax in connection with the reinsertion of the disputed

               information, in violation of 15 U.S.C. § 1681i(a)(5)(B)(iii)(II);

       i.      failing to provide Plaintiff with a notice that she had the right to add a statement to

               her file disputing the accuracy or completeness of the disputed information, in

               violation of 15 U.S.C. § 1681i(a)(5)(B)(iii)(III);

       j.      failing to maintain reasonable procedures designed to prevent the reappearance of

               previously deleted information in Equifax’s credit files and credit reports on

               Plaintiff, in violation of 15 U.S.C. § 1681i(a)(5)(C); and,

       k.      failing to notify Plaintiff of the results of its reinvestigation within five (5) days

               after completion of its reinvestigation, in violation of 15 U.S.C. § 1681i(a)(6)(A).

       22.     Between approximately May 2015 and the present, Defendant TruPartner

willfully failed to comply with the requirements of the FCRA, by, inter alia:

       a.      failing to conduct an investigation with respect to the disputed information, in

violation of 15 U.S.C. § 1681s-2(b)(1)(A);




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         b.       failing to review all relevant information provided by the consumer reporting

agency concerning the Plaintiff, in violation of 15 U.S.C. § 1681s--2(b)(1)(B); and,

         c.       failing to modify, delete, or permanently block the reporting of inaccurate,

incomplete, or unverifiable information relating to Plaintiff, to consumer report agencies, in

violation of 15 U.S.C. § 1681s-2(b)(1)(E).

         23.      As a result of the Defendants’ willful violations of the FCRA, Plaintiff has

suffered harm and the Defendants are liable to Plaintiff for actual damages, statutory damages,

punitive damages, plus attorney’s fees and costs.

                                COUNT II
                  NEGLIGENT NONCOMPLIANCE WITH THE FCRA

            24.   In the alternative, Defendants were negligent in failing to comply with the

requirements of the FCRA and are liable to Plaintiff for actual damages, plus attorney’s fees and

costs.

                                 COUNT III
                    INTENTIONAL OR NEGLIGENT INFLICTION
                           OF EMOTIONAL DISTRESS

         25.      Defendants’ conduct as herein alleged was intentional, reckless, or negligent.

         26.      Defendants’ conduct was so outrageous and intolerable so as to offend generally

accepted standards of morality and decency.

         27.      Defendants’ conduct as herein alleged was a cause of Plaintiff’s emotional

distress.

         28.      Plaintiff’s emotional distress was severe.

         29.      At law, Plaintiff is entitled to an award of compensatory damages against the

Defendants.



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       30.     Pursuant to KRS 411.184(2), Plaintiff is entitled to an award of punitive damages

against the Defendants.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Angela Wilson, by counsel, demands a trial by jury and a

judgment against Defendants for the following relief:

       a.      actual damages;

       b.      statutory damages;

       c.      punitive damages;

       d.      attorney’s fees and costs;

       e.      pre- and post-judgment interest; and,

       f.      any other relief to which Plaintiff may appear entitled.

                                                  Respectfully submitted,

                                                  TAYLOR COUCH PLLC

                                                  /s/ Zachary L. Taylor
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                                                  Counsel for Plaintiff




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